USCA4 Appeal: 23-1384    Doc: 60      Filed: 07/17/2023   Pg: 1 of 11




                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT



                                       No. 23-1384(L)


        APPALACHIAN VOICES; WILD VIRGINIA; WEST VIRGINIA RIVERS
        COALITION; PRESERVE GILES COUNTY; PRESERVE BENT MOUNTAIN, a
        chapter of Blue Ridge Environmental Defense League; WEST VIRGINIA
        HIGHLANDS CONSERVANCY; INDIAN CREEK WATERSHED
        ASSOCIATION; SIERRA CLUB; CHESAPEAKE CLIMATE ACTION
        NETWORK; CENTER FOR BIOLOGICAL DIVERSITY;

                    Petitioners

        v.

        UNITED STATES DEPARTMENT OF THE INTERIOR; DEB HAALAND, in her
        official capacity as Secretary of the U.S. Department of the Interior; UNITED
        STATES FISH AND WILDLIFE SERVICE, an agency of the U.S. Department of
        Interior; CINDY SCHULZ, in her official capacity as Field Supervisor, Virginia
        Ecological Services, Responsible Official; MARTHA WILLIAMS, in her official
        capacity as Director of the U.S. Fish and Wildlife Service;

                    Respondents

        and

        MOUNTAIN VALLEY PIPELINE, LLC;

                    Intervenor
USCA4 Appeal: 23-1384    Doc: 60        Filed: 07/17/2023   Pg: 2 of 11




                                           No. 23-1592


        THE WILDERNESS SOCIETY

                    Petitioners

        v.

        UNITED STATES FOREST SERVICE; HOMER L. WILKES, in his official
        capacity as Under Secretary for Natural Resources and Environment; U.S.
        DEPARTMENT OF AGRICULTURE; KENDERICK ARNEY, in his official
        capacity as Regional Forester of the Southern Region;

                    Respondents

        and

        MOUNTAIN VALLEY PIPELINE, LLC;

                    Intervenor


                                           No. 23-1594


        THE WILDERNESS SOCIETY;

                    Petitioners

        v.

        BUREAU OF LAND MANAGEMENT; DEB HAALAND, in her official capacity
        as Secretary of the U.S. Department of the Interior; MITCHELL LEVERETTE, in
        his official capacity as State Director, Bureau of Land Management, Eastern States;

                    Respondents
USCA4 Appeal: 23-1384     Doc: 60         Filed: 07/17/2023    Pg: 3 of 11




        and

        MOUNTAIN VALLEY PIPELINE, LLC;

                     Intervenor



         UNOPPOSED JOINT MOTION TO EXPAND ORAL ARGUMENT TIME


              In accordance with Local Rule 34(d) of the Federal Rules of Appellate

        Procedure, the Petitioners in Consolidated Petitions for Review Nos. 23-1384(L),

        23-1592, and 23-1594, jointly request an expansion of the time allotted for oral

        argument to 30 minutes per side, for a total argument time of one hour. Federal

        Respondents and Intervenor take no position on Petitioners’ request. In support of

        their request, the Petitioners assert the following:

              1.     On February 23, 2023, the United States Fish and Wildlife Service

        (“FWS”) issued a third Biological Opinion and Incidental Take Statement

        (“BiOp”) for the Mountain Valley Pipeline under the Endangered Species Act. No.

        23-1384(L), Doc. No. 3, Ex. A.

              2.     On April 10, 2023, ten environmental groups (Appalachian Voices,

        Wild Virginia, West Virginia Rivers Coalition, Preserve Giles County, Preserve

        Bent Mountain, West Virginia Highlands Conservancy, Indian Creek Watershed

        Association, Sierra Club, Chesapeake Climate Action Network, and Center for

        Biological Diversity), represented by lawyers from three different organizations
USCA4 Appeal: 23-1384     Doc: 60         Filed: 07/17/2023    Pg: 4 of 11




        (Sierra Club, Appalachian Mountain Advocates, Inc., and Center for Biological

        Diversity) filed a petition seeking review of the BiOp under 15 U.S.C. §717r(d)(1).

        Id.

              3.     On May 15, 2023, the United States Forest Service issued a record of

        decision, authorizing construction of the Mountain Valley Pipeline through the

        Jefferson National Forest by purporting to amend the Revised Land and Resource

        Management Plan for that forest and providing a necessary concurrence to the

        Bureau of Land Management. No. 23-1592, Doc. No. 2, Ex. A.

              4.     On May 17, 2023, the Bureau of Land Management (“BLM”) issued

        its own record of decision, granting Intervenor Mountain Valley Pipeline, LLC, a

        right-of-way across the Jefferson National Forest and a permit for construction.

        No. 23-1594, Doc. No. 2, Ex. A.

              5.     On June 1, 2023, The Wilderness Society, represented by the Southern

        Environmental Law Center, filed petitions seeking review of decisions of both the

        United States Forest Service and BLM under 15 U.S.C. §717r(d)(1). No. 23-1592,

        Doc. No. 2; No. 23-1594, Doc. No. 2.

              6.     On June 3, 2023, President Biden signed into law the Fiscal

        Responsibility Act of 2023 (“FRA”), Pub. L. No. 118-5. The FRA was a must-pass

        bill to raise the nation’s debt ceiling and avoid default.
USCA4 Appeal: 23-1384     Doc: 60        Filed: 07/17/2023     Pg: 5 of 11




               7.    The FRA included provisions in Section 324 applicable to the

        Mountain Valley Pipeline project. FRA §324.

               8.    On June 5, 2023, Intervenor Mountain Valley Pipeline filed motions to

        dismiss and motions for summary denial based on provisions in FRA §324 in

        Petition Numbers 23-1384(L) (Doc. No. 36), 23-1592 (Doc. No. 12), 23-1594

        (Doc. No. 11).

               9.    On June 9, 2023, the Court consolidated The Wilderness Society’s

        petitions for review of the decisions of the United States Forest Service and Bureau

        of Land Management. No. 23-1592, Doc. No. 19.

               10.   On June 14, 2023, the various Federal Respondents filed their own

        motions to dismiss in the Endangered Species Act case (No. 23-1384(L), Doc. No.

        41) and the consolidated Jefferson National Forest cases (No. 23-1592, Doc. No.

        20).

               11.   On June 26, 2023, the Endangered Species Act Petitioners and The

        Wilderness Society filed oppositions to the motions to dismiss their respective

        petitions. No. 23-1384(L), Doc. No. 43; No. 23-1592, Doc. No. 22.

               12.   On June 27, 2023, the various Federal Respondents and Intervenor

        Mountain Valley Pipeline filed notices of their intent to file replies in support of

        their various motions to dismiss and/or motions for summary denial on July 10,

        2023. No. 23-1384(L), Doc. Nos. 45 & 46; No. 23-1592, Doc. Nos. 23 & 24.
USCA4 Appeal: 23-1384     Doc: 60       Filed: 07/17/2023    Pg: 6 of 11




              13.    On July 10, 2023, the various Federal Respondents and Intervenor

        filed replies in support of their motions. No. 23-1384(L), Doc. Nos. 53 & 54; No.

        23-1592, Doc. Nos. 41 & 47.

              14.    On July 12, 2023, this Court entered an Order consolidating the

        Endangered Species Act and Jefferson National Forest cases and scheduling oral

        argument on the pending motions to dismiss for July 27, 2023. No. 23-1384(L),

        Doc. No. 57; No. 23-1592, Doc. No. 50. From a review of this Court’s website, it

        does not appear that any other cases are set for oral argument in Richmond on July

        27, 2023.

              15.    The consolidated petitions for review involve numerous Federal

        Respondents, a private party Intervenor, and a total of eleven environmental groups

        as Petitioners.

              16.    Thirteen briefs on the pending motions to dismiss and motions for

        summary dismissal have been presented by the Federal Respondents, Intervenor,

        the ten Petitioners in No. 23-1394(L), The Wilderness Society, and two sets of

        amici curiae, although some of those briefs are materially identical. Compare, e.g.,

        No. 23-1592, Doc. No. 12, with No. 23-1594, Doc. No. 11.

              17.    The Petitioners in the Endangered Species Act case (No. 23-1384(L))

        are represented by different counsel from the Petitioner in the Jefferson National

        Forest consolidated cases (Nos. 23-1592 and 23-1594).
USCA4 Appeal: 23-1384     Doc: 60        Filed: 07/17/2023     Pg: 7 of 11




              18.    The pending motions to dismiss and motions for summary disposition

        present questions of first impression about the meaning and/or constitutionality of

        five provisions of the recently enacted FRA. The motions present both substantive

        and jurisdictional questions, including important questions about the respective

        powers of the judicial and legislative branches.

              19.    Intervenor has presented the same questions about the same

        provisions of the FRA to Chief Justice Roberts through its July 14, 2023

        Emergency Application to Chief Justice John G. Roberts, Jr. to Vacate the Stays of

        Agency Authorizations Pending Adjudication of the Petitions for Review, No.

        23A35 (S. Ct. July 14, 2023), seeking emergency relief from this Court’s orders

        staying the agency actions at issue pending review.

              20.    Given the number of parties and counsel, the number of important

        substantive and jurisdictional legal questions, and the fact that the issues to be

        addressed at the July 27, 2023 oral argument are simultaneously being presented to

        the United States Supreme Court, Petitioners respectfully submit that a 20-minute

        oral argument would not be sufficient to allow each party in the consolidated

        petitions for review to fully present their positions or to ensure a thorough

        exploration of the questions presented.

                               *                   *                   *
USCA4 Appeal: 23-1384     Doc: 60         Filed: 07/17/2023   Pg: 8 of 11




        WHEREFORE, extraordinary circumstances in these consolidated petitions for

        review warrant additional time for oral argument. Petitioners therefore jointly

        move this Court to expand oral argument to one full hour with 30 minutes

        (including rebuttal time) allocated to the Movants (Federal Respondents and

        Intervenor) and 30 minutes allocated to the Petitioners.1 Such additional time will

        allow the parties and this Court to thoroughly air the important legal questions

        presented by the pending motions.

        DATED: July 17, 2023

        Respectfully submitted,

        /s/ Elizabeth F. Benson                        /s/ Kimberley Hunter
        ELIZABETH F. BENSON                            KIMBERLEY HUNTER
        Sierra Club                                    Southern Environmental Law Center
        2101 Webster Street, Suite 1300                601 West Rosemary St., Suite 220
        Oakland, CA 94612                              Chapel Hill, NC 27516
        Telephone: (415) 977-5723                      Telephone: (919) 967-1450
        elly.benson@sierraclub.org                     kmeyer@selcnc.org

        Counsel for Appalachian Voices                 GREGORY BUPPERT
        Wild Virginia, West Virginia Rivers            SPENCER GALL
        Coalition, Preserve Giles County,              Southern Environmental Law Center
        Preserve Bent Mountain, West Virginia          120 Garrett St., Suite 400
        Highlands Conservancy, Indian Creek            Charlottesville, VA 22902
        Watershed Association, Sierra Club,            Telephone: (434) 977-4090
        Chesapeake Climate Action Network,             gbuppert@selcva.org
        and Center for Biological Diversity            sgall@selcva.org

                                                       Counsel for The Wilderness Society

        1
          This requested expansion is consistent with the time allotted for oral argument by
        “[a] majority of circuits,” FRAP 34, notes of advisory committee on rules, and by
        this Court in en banc arguments, No. 23-1384(L), Doc. No. 59 at 2.
USCA4 Appeal: 23-1384    Doc: 60       Filed: 07/17/2023   Pg: 9 of 11




        DEREK O. TEANEY
        Appalachian Mountain Advocates
        P.O. Box 507
        Lewisburg, WV 24901
        Telephone: (304) 646-1182
        dteaney@appalmad.org

        JARED M. MARGOLIS
        Center for Biological Diversity
        2852 Willamette St. #171
        Eugene, OR 97405
        Telephone: (802) 310-4054
        jmargolis@biologicaldiversity.org

        Counsel for Appalachian Voices
        Wild Virginia, West Virginia Rivers
        Coalition, Preserve Giles County,
        Preserve Bent Mountain, West Virginia
        Highlands Conservancy, Indian Creek
        Watershed Association, Chesapeake
        Climate Action Network, and
        Center for Biological Diversity
USCA4 Appeal: 23-1384    Doc: 60       Filed: 07/17/2023   Pg: 10 of 11




                              CERTIFICATE OF COMPLIANCE

              1.    This motion complies with the type-limit volume limitation of FRAP

        27(d)(2)(A) because this motion contains 1,102 words, excluding the parts of the

        motion exempted by FRAP 27(d)(2) and FRAP 27(a)(2)(B).

              2.    This motion complies with the typeface requirements of FRAP

        32(a)(5) and the type style requirements of FRAP 32(a)(6) because this motion has

        been prepared in a proportionally spaced typeface using Microsoft Word in Times

        New Roman 14-point font.

        DATED:      July 17, 2023

                                              /s/ Elizabeth F. Benson
                                              Elizabeth F. Benson
USCA4 Appeal: 23-1384     Doc: 60        Filed: 07/17/2023    Pg: 11 of 11




                                    CERTIFICATE OF SERVICE

               I hereby certify that, on July 17, 2023, I electronically filed the foregoing
        with the Clerk of the Court using the CM/ECF System, which will automatically
        send e-mail notification of such filing to all counsel of record.

                                                      /s/ Elizabeth F. Benson
                                                      Elizabeth F. Benson
